OPINION — AG — THE STATE COMMISSIONER OF HEALTH IS AUTHORIZED TO ENGAGE IN SURVEYS AND PLANNING WITH RESPECT TO DIAGNOSTIC OR TREATMENT CENTERS, CHRONIC DISEASE HOSPITALS, REHABILITATION FACILITIES, AND NURSING HOMES, SUCH AS ARE REFERRED TO IN THE MEDICAL FACILITIES SURVEY AND CONSTRUCTION ACT OF 1954 AND TO ACCEPT AND USE FEDERAL FUNDS FOR SUCH PURPOSE. CITE: 63 O.S.H. 36, 63 O.S.H. 327.1, 63 O.S.H. 327.3, 63 O.S.H. 329.2, 63 O.S.H. 327.4 (J. H. JOHNSON)